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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. Case No. 1:19-cr-00018-ABJ

ROGER J. STONE, JR.,
Defendant.

AMERICAN BROADCASTING
COMPANIES, INC.,

CABLE NEWS NETWORK, INC.,

CBS BROADCASTING INC.,
o/b/o CBS NEWS,

DOW JONES & COMPANY, INC.,
THE ASSOCIATED PRESS,
THE NEW YORK TIMES CO.,

WP CO. LLC,
d/b/a THE WASHINGTON POST,

Proposed Intervenors.

CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 26.1, undersigned
counsel for Proposed Intervenors American Broadcasting Companies, Inc., Cable News
Network, Inc., CBS Broadcasting Inc. on behalf of CBS News, Dow Jones & Company, Inc.,
The Associated Press, The New York Times Co., and WP Company LLC d/b/a The Washington

Post, certify that:
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American Broadcasting Companies, Inc. is an indirect, wholly-owned subsidiary of The
Walt Disney Company, a publicly traded corporation.

Cable News Network, Inc. (“CNN”), a Delaware corporation, is an indirect wholly-
owned subsidiary of AT&T Inc., a publicly traded corporation. AT&T Inc. has no parent
company and, to the best of CNN’s knowledge, no publicly held company owns ten percent or
more of AT&T’s stock.

CBS Broadcasting Inc. is a wholly owned, indirect subsidiary of ViacomCBS Inc., a
publicly traded company. National Amusements, Inc., a privately held company, beneficially
owns the majority of the Class A voting stock of ViacomCBS Inc. ViacomCBS Inc. is not aware
of any publicly held entity owning 10% or more of its total common stock, i.e., Class A and
Class B on a combined basis.

News Corporation, a publicly held company, is the indirect parent corporation of Dow
Jones & Company, Inc. (“Dow Jones”). Ruby Newco, LLC, an indirect subsidiary of News
Corporation and a non-publicly held company, is the direct parent of Dow Jones. News
Preferred Holdings, Inc., a subsidiary of News Corporation, is the direct parent of Ruby Newco,
LLC. No publicly traded corporation currently owns 10 percent or more of the stock of Dow
Jones.

The Associated Press is a news cooperative incorporated under the Not-for-Profit
Corporation Law of New York and has no parents, subsidiaries or affiliates that have any
outstanding securities issued to the public.

The New York Times Company, a publicly traded company, has no parent company and

no publicly held corporation owns 10% or more of its stock.
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WP Company LLC d/b/a The Washington Post is a wholly owned subsidiary of Nash
Holdings LLC, which is privately held and does not have any outstanding securities in the hands

of the public.

These representations are made in order that judges of this Court may determine the need

for recusal.

Dated: February 25, 2020 Respectfully submitted,

BALLARD SPAHR LLP

/s/ Jay Ward Brown

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CERTIFICATE OF SERVICE

[hereby certify that on February 25, 2020, I caused the foregoing to be filed and served

electronically via the Court’s ECF system upon all counsel of record.

/s/ Jay Ward Brown
Jay Ward Brown

